                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


JOSHUA JARRETT; JESSICA JARRETT

                       Plaintiffs,
                                                       No. 3:21-cv-00419
              v.

UNITED STATES OF AMERICA

                       Defendant.



                        NOTICE OF WITHDRAWAL OF COUNSEL

       In accordance with Local Rule 83.01(g), please take notice that Jacob A. Wittman of Fen-

wick & West LLP hereby withdraws his appearance for Plaintiffs in the above action. Plaintiffs

shall continue to be represented by the law firms of Fenwick & West LLP and Consovoy McCarthy

PLLC in this action.




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Dated: January 21, 2022                Respectfully submitted,

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